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EXHIBIT “A”
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NYSCEF DOC. NO. 1

 

034070/2019

RECEIVED NYSCEF: 07/24/2019

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF ROCKLAND

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JACQUELINE A. MORMILE,
Plaintiff,
-against-

ACCURATE DIAGNOSTIC LABS, INC., RUPEN
PATEL, Individually and as Owner, Member, Shareholder
Agent, and/or Chief Executive Officer of ACCURATE
DIAGNOSTIC LABS, INC., JOHN NORTON,
Individually and as Vice President of Sales of

SUMMONS WITH NOTICE
Index No.
Date Filed:

Plaintiff designates the County of
Rockland as the place of Trial.

The basis of venue designated is
Plaintiff resides in said County.

ACCURATE DIAGNOSTIC LABS, INC., NICK
MELCHIORRE, Individually and as Vice President
and/or General Manager of ACCURATE
DIAGNOSTIC LABS, INC. and, JOHN DOES 1-5

Defendants.

 

TO THE ABOVE NAMED DEFENDANTS:

YOU ARE HEREBY SUMMONED to serve a Notice of Appearance, on Plaintiff's
attorney(s) within twenty (20) days after the service of this summons, exclusive of the day of
service (or within thirty (30) days after the service is complete if this summons is not personally
delivered to you within the State of New York); and in case of your failure to appear, judgment
will be taken against you by default for the relief demanded in the notice set forth below.

Dated: South Nyack, New York
July 24, 2019
Yours, ete.

FEERICK NUGENT MacCARTNEY PLLC
Attorneys for Plaintiff

Office and Post Office Address

96 South Broadway =
South Nyack, Ne
(845) 353-2000

    

By:

 

dy ff
Donald bdziek Jr.
Méfty E. Marzolla
Notice(s):

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The nature of this action is to recover money damages for fraud, intentional
misrepresentation, conspiracy to commit fraud, theft of services, unjust enrichment,
quantum merit, and breach of contract. The relief sought is monetary damages.

If you do not serve a notice of appearance or demand for a complaint within the
applicable time limitation stated above, a judgment may be entered against you, by default,
for the sum of $74,000 inclusive of attorneys' fees, with interest from January 1, 2019, and
the costs and disbursements of this action.

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